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                                   STATEMENT OF FACTS

        Your affiant, Gary A. Warfield, is a Task Force Officer with the Federal Bureau of
Investigation. Currently, I am tasked with investigating criminal activity in and around the U.S.
Capitol grounds on January 6, 2021. As a Task Force Officer, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of violations of Federal criminal laws.

                       Background– the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                       Identification and Conduct of Jared Paul Cantrell,
                         Quentin G. Cantrell and Eric Andrew Cantrell

       According to multiple independent tipsters, on or around January 6, 2021, Jared Paul
Cantrell posted multiple images and/or comments to his personal Instagram and Facebook social
media accounts from Washington, DC, near the Washington Monument and outside and inside the
U.S. Capitol. Additionally, a witness (Witness 1) who is personally familiar with Jared Paul
Cantrell, Quentin G. Cantrell and Eric Andrew Cantrell was told by Jared Paul Cantrell that he
was in Washington, D.C., on January 6, 2021 and that he traveled there with his two cousins
Quentin G. Cantrell and Eric Andrew Cantrell (collectively, the “Cantrell Cousins”).

                                Jared Paul Cantrell’s Social Media

       After being provided Jared Paul Cantrell’s Instagram user and/or display names by multiple
independent tipsters, the FBI used publicly available, open-source Instagram information to locate
Jared Paul Cantrell’s personal Instagram and Facebook accounts. Jared Paul Cantrell’s Instagram
account was identified by username: @moisesdelmar and display name: Moises. His Facebook
account was identified by username jaredpaulcantrell. Both accounts were subscribed in the name
Jared Moises Cantrell with a verified phone number of xxx-xxx-3935 (x3935) 1 identified as
belonging to Cantrell, as explained below, and both accounts were linked to the same email
address: jaredpaulcantrell@gmail.com. Witness 1 also identified the Instagram account bearing
username @moisesdelmar as belonging to Jared Paul Cantrell.

       One of the Instagram posted images is of Jared Paul Cantrell, with his face clearly visible
and wearing a dark colored coat, furry hat, backpack and a hydration system tube over his right
shoulder with the Washington Monument in the background. See Exhibit 1. One anonymous tipster
and another tipster who knows Jared Paul Cantrell personally identified him in the photo in Exhibit
1. Additionally, Witness 1 identified Jared Paul Cantrell in the photo in Exhibit 1 and was
personally familiar with Jared Paul Cantrell’s furry hat and the GORUCK brand hydration system
tube over his right shoulder, and identified these items as belonging to Jared Paul Cantrell. I also
compared the photo with Jared Paul Cantrell’s photograph on record with the Indiana Bureau of
Motor Vehicles, and I believe they are the same individual.




1
  The full phone number is known to the affiant, but omitted here due to the public nature of this
filing.

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                                             Exhibit 1




        A second image posted to Instagram on Jared Paul Cantrell’s personal Instagram account
is of two people with the U.S. Capitol in the background. See Exhibit 2. The person on the right
is dressed in a dark-colored coat of the same type and color that Jared Paul Cantrell is wearing in
Exhibit 1. This person is also wearing what appears to be the same backpack and GORUCK
hydration system tube over his right shoulder that Jared Paul Cantrell is wearing in Exhibit 1. In
Exhibit 2, the person is also wearing sunglasses and a mask. Witness 1 was shown this image and
positively identified the person on the right as Jared Paul Cantrell based on his clothing and
accessories and his overall appearance. Witness 1 again provided detailed descriptions of the items
worn by Jared Paul Cantrell in this image to include knowledge that the coat is Carhart brand, the
backpack is GORUCK brand, the mask is Carhart brand and the hoodie is American Giant brand.
Witness 1 positively identified the person on the left as Quentin G. Cantrell. I recognize the person
on left as Quentin G. Cantrell because I met Quentin G. Cantrell during the course of this
investigation. I also compared the photo with Quentin G. Cantrell’s photograph on record with
the Indiana Bureau of Motor Vehicles, and I believe they are the same individual.




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                                            Exhibit 2




       Two more images posted to Instagram by the user of Jared Paul Cantrell’s Instagram
account appear to have been taken inside the Rotunda of the U.S. Capitol. See Exhibit 3. They
show what I believe to be the same masked person from Exhibit 2, believed to be Jared Paul
Cantrell, with the same dark colored Carhart coat, GORUCK backpack, GORUCK hydration
system tube over his right shoulder, the same sunglasses, and Carhart mask. I believe that the
masked individual in Exhibit 3 is Jared Paul Cantrell because he is similarly dressed to the mask-
less image posted of near the Washington Monument. See Exhibit 1. Witness 1 was shown the
two images in Exhibit 3 and positively identified the person in both images as Jared Paul Cantrell
based on his clothing and accessories and his overall appearance.




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                                            Exhibit 3




       A search warrant to Facebook for the content of Jared Paul Cantrell’s account revealed the
following posts made by the user of the account:

            •   January 6, 2021: “I was one of the first 50 in.”

            •   January 6, 2021: “Forceful entrance.”

            •   January 7, 2021: “I do not think I broke any laws. I have not been to the capitol
                before and was a big reason I went in the first place. I didn’t go over any
                barricades or push through any police. They were letting folks in and at no point
                was there any verbal Indication from any authority to not go in. The door was


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                open and I peeked in. I assume that if you took something, broker something, or
                went further into the building where you may have had to breach some barrier,
                that would be prosecuted. If it was illegal, it didn’t seem like it.”

            •   January 7, 2021: “. . . They had entire lines of police officers in riot gear off to
                the side not doing anything. I thought they were purposefully letting people in
                easily so that they could trap them inside, but they only went after ones who
                touched something or went into offices of other parts of building. The rotunda
                was wide open though.”

            •   January 7, 2021: “I was there as an observer.”

            •   January 7, 2021: “it seemed more civil than portrayed. Not saying it was civil,
                but reading all the articles on the way back definitely shined a very different
                light on the situation. It felt odd and scripted at the capitol with the police.
                People scaling the capitol building was quite a sight to behold though.”

            •   January 8, 2021: “I know that from my perspective not one barrier was beached
                [sic] and not a single cop was pushed past. I told myself I wanted to see and
                would walk as close as I could until there was resistance. I never had any
                resistance going in. I condemn any violence, looting, or racism. It was weird,
                on my side, the doors were open and people simply walked in, definitely not
                how it was portrayed on TV. I think the FBI is interested in violent offenders, or
                those destroying property.”

            •   January 8, 2021: “. . . Luckily I didn’t remain. Was in for a total of 4 minutes.”

            •   January 11, 2021: “. . . I can say this, my only goal was to get as close as I could
                to the action without breaking a barrier. I be [sic] never even overstepped a curb
                let along pushed past a police officer.”

            •   January 11, 2021: “I just updated my profile pic to be of one inside the cap
                building by the way.”
        In addition to the above posts, on or about January 7, 2021, the user of the account posted
the following two pictures believed to be taken in the Rotunda of the U.S. Capitol and on the
Capitol grounds, respectively. See Exhibit 4.




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                                              Exhibit 4




                 The Cantrell Cousins Seen Together at and around the Capitol

       The Cantrell Cousins were identified in other videos at and around the U.S. Capitol on
January 6. For instance, the FBI obtained a video from an individual who was present inside and
outside the U.S. Capitol on January 6, 2021. An image captured from the video shows three
maskless individuals. See Exhibit 5. I believe the person highlighted in the blue circle is Jared
Paul Cantrell based on a comparison to the individual in Exhibit 1 as well as Jared Paul Cantrell’s
photograph on record with the Indiana Bureau of Motor Vehicles. Jared Paul Cantrell is wearing
the same dark colored Carhart coat, GORUCK backpack, and GORUCK hydration system tube
over his right shoulder as previously noted. I believe the person highlighted in the yellow oval is
Quentin G. Cantrell. I recognize the aforementioned individual as Quentin G. Cantrell because I
met Quentin G. Cantrell during the course of this investigation. I also compared the photo with

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Quentin G. Cantrell’s photograph on record with the Indiana Bureau of Motor Vehicles, and I
believe they are the same individual. I believe the person highlighted in the red rectangle is Eric
Andrew Cantrell. I compared this image with Eric Andrew Cantrell’s photograph on record with
the Indiana Bureau of Motor Vehicles, and I believe they are the same individual. Witness 1 also
identified the individuals in Exhibit 5 as Jared Paul Cantrell, Quentin G. Cantrell, and Eric Andrew
Cantrell.

                                            Exhibit 5




       I also identified individuals believed to be the Cantrell Cousins in open source video
footage from January 6, 2021 capturing individuals walking from the Stop the Steal Rally to the
U.S. Capitol. See Exhibit 6.




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                                           Exhibit 62




       In another open source video, individuals believed to be Quentin G. Cantrell and Eric
Andrew Cantrell are seen on the West Terrace of the U.S. Capitol. See Exhibit 7. Quentin G.
Cantrell appears to attempt to climb down the wall as Eric Andrew Cantrell reaches down to help
him.




2
    Available at https://youtu.be/DpqrQ1b_Fm8?t=973 at approximately timestamp 16:13.



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                                            Exhibit 73




        In another open source video, an individual believed to be Eric Andrew Cantrell is seen
apparently leaving the Capitol area. See Exhibit 8. 4 He is wearing a plaid jacket, backpack,
Carhart hat and gray hoodie. I believe the person highlighted in the red rectangle is Eric Andrew
Cantrell because I compared this image with Eric Andrew Cantrell’s photograph on record with
the Indiana Bureau of Motor Vehicles. Witness 1 also identified the individual in Exhibit 8 as Eric
Andrew Cantrell.




3
    Available at https://archive.org/details/Tp62HK3pCfrGYdD2F at multiple time stamps.
4
    Available at https://www.youtube.com/watch?v=PiVreIaXexM&t=4027s at timestamp 1:07:23.

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                                            Exhibit 8




                  The Cantrell Cousins Seen on CCTV Inside the U.S. Capitol

       Closed circuit television (CCTV) from inside the U.S. Capitol Building on January 6, 2021
captured individuals believed to be Jared Paul Cantrell, Quentin G. Cantrell and Eric Andrew
Cantrell entering the U.S. Capitol building in close proximity to one another. See Exhibits 9A-E.
Exhibit 9A captures individuals believed to be Jared Paul Cantrell highlighted in the blue circle
and Quentin G. Cantrell highlighted in the yellow circle entering the U.S. Capitol through the
Upper West Terrace Door entrance at approximately 2:37 P.M. (19:37:44 UTC). It should be
noted that the GORUCK hydration system tube over Jared Paul Cantrell’s right shoulder as
previously noted is visible in the CCTV footage that the screenshot in Exhibit 9A was taken from.




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                           Exhibit 9A




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       Exhibit 9B captures Quentin G. Cantrell, again highlighted in the yellow circle,
approximately three seconds after the image in Exhibit 9A. Witness 1 was shown the images in
Exhibits 9A and 9B and positively identified the highlighted individuals as Jared Paul Cantrell and
Quentin G. Cantrell.

                                            Exhibit 9B




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       Exhibit 9C captures an individual believed to be Eric Andrew Cantrell highlighted in the
red rectangle entering the U.S. Capitol through the Upper West Terrace Door entrance
approximately 11 seconds after the image in Exhibit 9B. The individual appears to be wearing the
same plaid jacket, backpack, Carhart hat and gray hoodie as the individual identified as Eric
Cantrell in Exhibit 8, above. Witness 1 was shown this image and positively identified the
highlighted individual as Eric Andrew Cantrell.

                                          Exhibit 9C




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        Exhibit 9D captures Eric Andrew Cantrell highlighted in the red rectangle and Quentin G.
Cantrell highlighted in the yellow circle exiting the U.S. Capitol through the Upper West Terrace
Door entrance area about two minutes after they entered, at approximately 2:39 P.M. (19:39:26
UTC). Witness 1 was shown this image and positively identified the highlighted individuals as
Eric Andrew Cantrell and Quentin G. Cantrell. I also compared this image with Eric Andrew
Cantrell’s photograph on record with the Indiana Bureau of Motor Vehicles, and I believe they
are the same individual. Exhibit 9E is an enlargement of the highlighted area in Exhibit 9D.

                                           Exhibit 9D




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                                           Exhibit 9E




       Additional CCTV from inside the U.S. Capitol Building on January 6, 2021 captured an
individual believed to be Jared Paul Cantrell walking in other locations throughout the building.
For instance, Exhibits 10A-C capture an individual believed to be Jared Paul Cantrell walking
toward the exit of the building at approximately 2:45 P.M. (19:45:41-44 UTC). In Exhibit 10A,
Jared Paul Cantrell is seen wearing the same dark colored Carhart coat, hoodie, mask, sunglasses
and GORUCK hydration system tube over his right shoulder as previously mentioned. Exhibit
10B pictures Jared Paul Cantrell approximately three seconds later with his sunglasses removed.
Exhibit 10C is an enlargement of the red square in Exhibit 10B. Witness 1 identified the
highlighted individual in Exhibits 10B and 10C as Jared Paul Cantrell based on his facial features
and recognized clothing and accessories. According to CCTV, Jared Paul Cantrell exited the U.S.
Capitol Building at approximately 2:47 (19:47:34 UTC).




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                          Exhibit 10A




                           Exhibit 10B




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                                           Exhibit 10C




                      Geolocation Data Connected to the Cantrell Cousins

        According to records obtained through a search warrant served on AT&T, on January 6,
2021, in and around the time of the Capitol Siege, the cellular telephone believed to be used by
Jared Paul Cantrell (x3935) was identified as having used a cell site consistent with providing
service to a geographic area that included the grounds and the interior of the United States Capitol
building. The cellular telephone is believed to be used by Jared Paul Cantrell because, among
other reasons, AT&T records state that the account is subscribed in the name of Jared Paul Cantrell
at his prior known address.

        According to cell site records, on January 6, 2021, at least at 2:39:06 p.m., an Apple iPhone
6s associated with phone number xxx-xxx-1427 5, subscribed to by Quentin G. Cantrell, was
identified as having used a cell site consistent with providing service to a georgraphic area that
includes the interior of the United States Capitol building.

      According to cell site records, on January 6, 2021, at least at 2:37:28 p.m., an Apple iPhone
XR associated with phone number xxx-xxx-8475 6, for which Verizon records list Eric Cantrell as

5
  The full phone number is known to the affiant, but omitted here due to the public nature of this
filing.
6
  The full phone number is known to the affiant, but omitted here due to the public nature of this
filing.

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the assigned user, was identified as having used a cell site consistent with providing service to a
geographic area that includes the interior of the United States Capitol building.

                                         Criminal Charges

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Jared Paul Cantrell, Quentin G. Cantrell and Eric Andrew Cantrell violated 18 U.S.C. § 1752(a)(1)
and (2), which makes it a crime to (1) knowingly enter or remain in any restricted building or
grounds without lawful authority to do so; and (2) knowingly, and with intent to impede or disrupt
the orderly conduct of Government business or official functions, engage in disorderly or
disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so
that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Jared Paul Cantrell,
Quentin G. Cantrell and Eric Andrew Cantrell violated 40 U.S.C. § 5104(e)(2)(D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      Gary A. Warfield, Task Force Officer
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 8th day of March, 2022.
                                                                              Zia M. Faruqui
                                                                              2022.03.08 14:33:07
                                                                              -05'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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